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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            Case No. 2:22-CV-14102-MIDDLEBROOKS


  DONALD J. TRUMP,

         Plaintiff,

  v.

  HILLARY R. CLINTON, et al.,

         Defendants.

  _________________________________________/


                              MOTION TO SUBSTITUTE COUNSEL

        Pursuant to Local Rules 7.1(a) and 11.1(d), Defendant Igor Danchenko hereby moves this

 Court for an Order substituting Cristina Villarroel of McDermott Will & Emery LLP as counsel of

 record for Defendant Danchenko and granting leave for Diana Fassbender of Orrick, Herrington &

 Sutcliffe LLP to withdraw as counsel. The reason for this substitution is that Mr. Danchenko is no

 longer represented by the firm of Orrick, Herrington & Sutcliffe LLP; he is now represented by

 McDermott Will & Emery where Ms. Villarroel is an attorney. Mr. Danchenko will also continue

 to be represented by Franklin Monsour of McDermott Will & Emery who has appeared pro hac vice

 in this action. Cristina Villarroel, Esq., who is an active member in good standing of the Florida Bar,

 shall assume all associated local counsel duties previously exercised by Diana Fassbender, Esq.

        Pursuant to Local Rule 11.1(d), the undersigned certifies that Mr. Danchenko has been

 provided notice of this motion and he consents to the withdrawal and substitution of counsel.
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                          LOCAL RULE 7.1(a)(3) CERTIFICATION

        I hereby certify that on July 31, 2024, undersigned counsel for Defendant Igor Danchenko

  notified all parties by e-mail of the relief sought herein. No party has objected to the relief

  requested.

  Dated: August 1, 2024                      Respectfully submitted,


                                             /s/ Cristina Villarroel
                                             Cristina Villarroel
                                             Fla Bar ID # 1010472

                                             McDermott Will & Emery LLP
                                             333 SE 2nd Avenue, Suite 4500
                                             Miami, FL 33131
                                             Tel.: 305-507-2302
                                             Fax: 305-718-0669


                                             /s/ Diana Marie Fassbender
                                             Diana Marie Fassbender
                                             Fla Bar ID #17095
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                                             1152 15th Street N.W.
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                                             Counsel for Defendant Igor Danchenko
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                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was e-filed this 1st of August,

  2024, and served to counsel of record for all parties via the Court’s CM/ECF system.


                                               /s/ Cristina Villarroel
                                               Cristina Villarroel
